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                                           May 18, 2018

Via ECF
Honorable Pamela K. Chen
United States District Court Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

               Re:     Portelos v. City of New York
                       1:17-cv-00872-PKC-LB
                       Status Regarding Remaining Defendants

Dear Judge Chen:

       I write on behalf of Plaintiff to inform the court that pursuant to the terms of the settlement
agreement between the parties we are withdrawing the claims against Defendants William Connor
and John Does #1 and #2.

               Thank you very much for the Court’s consideration.


                                                      Respectfully submitted,

                                                      By:       /s: Bryan D. Glass
                                                             Bryan D. Glass, Esq. 
                                                             Attorney for Plaintiff




 
